      Case 2:97-cr-80227-AC ECF No. 318, PageID.106 Filed 11/02/05 Page 1 of 4




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION



UNITED STATES OF AMERICA,

         Petitioner,

vs.
                                                            Crim. Case No. 97-CR-80227

ALBERT BURSEY,

     Defendant.
_________________________________/

               ORDER DENYING REQUEST FOR REVIEW OF SENTENCE
                           UNDER 28 U.S.C. § 3742

                                             I.

         This is a criminal case. Defendant has filed a paper styled “Request for Review

of Sentence (Under 18 U.S.C. § 3472)1” essentially claiming that his sentence violates

the principles in the Supreme Court cases of Blakely v. Washington, 542 U.S. 296

(2004), and United States v. Booker, 125 S.Ct. 738 (2005) because the Court

determined defendant’s sentence relying on evidence neither contained in the

indictment or found by a jury beyond a reasonable doubt. For the reasons that follow,

the motion is DENIED.

                                             II.

         On February 23, 1998, defendant pled guilty under a Rule 11 agreement with the

government to Count One of the First Superseding Indictment, charging him with


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         Although defendant cites 18 U.S.C. § 3472, that section does not exist. Rather,
it is assumed that defendant is moving under 18 U.S.C. § 3742.

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   Case 2:97-cr-80227-AC ECF No. 318, PageID.107 Filed 11/02/05 Page 2 of 4




conspiracy to posses with intent to distribution cocaine, in violation of 21 U.S.C. § 846

and § 841(a)(1). The indictment alleged that the conspiracy involved 5 kilograms or

more of cocaine. As part of his plea agreement, defendant waived his right to contest

the accuracy of the drug quantity attributed to him under U.S.S.G. § 2D1.1. The plea

agreement provided that: "The parties agree that all sentencing guidelines have been

identified in this agreement (which includes the attached worksheets), and that the

parties will raise no others." The agreement further stated: "Defendant agrees not to

appeal the accuracy of any factor stipulated to in the attached worksheets." Attached

"Worksheet A" calculated the total offense level, providing a drug quantity of 150

kilograms of cocaine. The plea agreement capped defendant’s sentence at 226

recommending a sentence of no greater than 162 months. The presentence

investigation report held Bursey accountable for 50 to 150 kilograms of cocaine, which

placed his base offense level at 36; defendant’s total offense level was 37. With an

offense level of 37 and a criminal history category of I, the sentencing guidelines

produced a range of 210 to 262 months. Defendant objected to the presentence report

on the grounds that the amount of drugs attributed to him was wrong; defendant

claimed only 4 kilograms were involved in the offense. The Court found the objections

lacking in merit and sentenced defendant on December 18, 1998 to 10 years (120

months) imprisonment.

       Defendant’s conviction and sentence were affirmed on direct appeal. See United

States v. Bursey, No. 99-1006, 99-1011, 2000 WL 712377, 215 F.3d 1327 (6th Cir. May

23, 2000) (unpublished).

       Thereafter, defendant filed a motion under § 2255 claiming that his sentence


                                             2
   Case 2:97-cr-80227-AC ECF No. 318, PageID.108 Filed 11/02/05 Page 3 of 4




violated Apprendi v. New Jersey, 530 U.S. 466 (2000). The Court denied the motion on

the grounds that Apprendi did not apply because defendant’s sentence of 120 months

did not exceed the statutory maximum. Indeed, defendant in fact received the statutory

minimum sentence. Defendant also argued that the Court erred in rejecting his

objections to the presentence report regarding the calculation of his offense level,

arguing that he should only be accountable for 4 kilograms of cocaine. The Court

rejected the claim because the Court of Appeals for the Sixth Circuit held that defendant

had waived any objection to drug quantity in his plea agreement and that this

determination of waiver was binding on this Court on collateral review. See

Memorandum and Order filed August 16, 2001. The Court and the Sixth Circuit

subsequently denied a certificate of appealability.

       On April 11, 2005, defendant filed the instant motion, in which he again

challenges his sentence.

                                            III.

       As the government points out, 18 U.S.C. § 3742 does not provide a jurisdictional

basis for the Court to review defendant’s sentence. Section 37422 confers authority for


       2
         18 U.S.C. § 3742 provides:
       (a) Appeal by a defendant.--A defendant may file a notice of appeal in the district
       court for review of an otherwise final sentence if the sentence--
       (1) was imposed in violation of law;
       (2) was imposed as a result of an incorrect application of the sentencing
       guidelines; or
       (3) is greater than the sentence specified in the applicable guideline range to the
       extent that the sentence includes a greater fine or term of imprisonment,
       probation, or supervised release than the maximum established in the guideline
       range, or includes a more limiting condition of probation or supervised release
       under section 3563(b)(6) or (b)(11) than the maximum established in the
       guideline range; or
       (4) was imposed for an offense for which there is no sentencing guideline and is

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   Case 2:97-cr-80227-AC ECF No. 318, PageID.109 Filed 11/02/05 Page 4 of 4




appellate courts to review a sentence. Defendant obtained such review by the Sixth

Circuit several years ago. Defendant’s challenge to his sentence on the basis of

Blakely and Booker falls within the purview of a motion under § 2255. Because

defendant has already filed one § 2255 motion, he would need authorization from the

Court of Appeals to file a second or successive § 2255 motion. See 28 U.S.C. §

2244(b)(2). Such permission is not likely, however, as the Sixth Circuit has held that the

holding in Booker does not apply to cases on collateral review. See Humphress v.

United States, 398 F.3d 855 (6th Cir. 2005).

      SO ORDERED.



                                          s/Avern Cohn
                                         AVERN COHN
                                         UNITED STATES DISTRICT JUDGE


Dated: November 2, 2005


I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, November 2, 2005, by electronic and/or ordinary mail.


                                          s/Julie Owens
                                         Case Manager
                                         (313) 234-5160




      plainly unreasonable


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